     Case 10-46222-RG            Doc 74      Filed 04/17/17 Entered 04/17/17 12:44:14        Desc Main
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       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY

       Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                               Order Filed on April 17, 2017
      CHRISTOPHER S. PORRINO                                                             by Clerk
                                                                                 U.S. Bankruptcy Court
      Attorney General of New Jersey                                              District of New Jersey
      25 Market Street
      P.O. Box 106
      Trenton, New Jersey 08625-0106

      By: Heather Lynn Anderson (015962003)
      Deputy Attorney General

       In Re:                                                   Case No.:    __________________
                                                                                  10-46222
       Randall and Jill Jacobs                                  Chapter:     __________________
                                                                                     13

                                                                Hearing Date: __________________
                                                                                  04/05/2017

                                                                Judge:       __________________
                                                                              Gambardella, USBJ



                       ORDER DIRECTING PAYMENT OF UNCLAIMED FUNDS

     The relief set forth on the following page is ORDERED.




DATED: April 17, 2017
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                                                         State of New Jersey
        The court having heard the motion filed by ___________________________, and any
objections filed, it is

                                                                    $8,300.00
        ORDERED that the motion is GRANTED and the amount of ______________________
                                   New Jersey Division of Taxation
will be forwarded to ______________________________________________________ at the
following address:

        New Jersey Division of Taxation
        __________________________________

        c/o Richard Flatch
        __________________________________

        __________________________________
        50 Barrack Street, Box 245

        __________________________________
        Trenton, NJ 08625




                                                                                   new.8/1/15
